          Entered on Docket May 30, 2019

                                                            Below is the Order of the Court.

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                                                                ___________________
3                                                               Christopher M. Alston
                                                                U.S. Bankruptcy Judge
                                                                (Dated as of Entered on Docket date above)
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     _______________________________________________________________
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8                           UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
9

10
       In Re:                                                       No. 18-14638
11
       William Roberts Herkelrath,                                  EX PARTE ORDER APPROVING
12                                                                  EMPLOYMENT OF REAL ESTATE
                                    Debtor.                         BROKER
13

14          THIS MATTER having come forth regularly on motion of the trustee for authorization to

15   employ a real estate broker, the court finding that said employment is appropriate under 11

16   U.S.C. § 327, the court finding that the Kat Gilmore and Bainbridge Homes Real Estate do not

17   have an interest adverse to the bankruptcy estate under that statute, it appearing that notice to

18   creditors is not necessary, now, therefore, it is hereby

19          ORDERED that the trustee, Michael P. Klein, may employ Kat Gilmore and Bainbridge

20   Homes Real Estate to sell real property located at 10950 & 10954 NE Broomgerrie Road,

21   Bainbridge Island, WA 98110 and that all commissions and costs shall be paid as stated in the

22   application upon further order of the court.

23                                  ///End of Order///
             Presented by:
24   __/s/ Michael P Klein___________
     Michael P. Klein, Chapter 7 Trustee
25   Trustee


     EX PARTE ORDER APPROVING                                                  Michael P. Klein
                                                                                 Chapter 7 Trustee
     EMPLOYMENT OF REAL ESTATE                                           330 Madison Avenue S., Suite 110
     BROKER - 1 -                                                       Bainbridge Island, Washington 98110
                                                                                  (206) 842-3638

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